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                    6
                           Attorneys for Plaintiffs
                    7      DATA MARK, INC. dba DELTATRAK TECHNOLOGIES,
                           a California corporation, FREDERICK L. WU, an individual
                    8

                    9                                     UNITED STATES DISTRICT COURT

                  10                                    NORTHERN DISTRICT OF CALIFORNIA

                  11

                  12       DATA MARK, INC. dba DELTATRAK                       CASE NO.: 3:C10-CV-04958-JSW
                           TECHNOLOGIES, a California corporation;
                  13       FREDERICK L. WU, an individual,                     STIPULATION FOR DISMISSAL OF
                                                                               ACTION PURSUANT TO F.R.C.P. 41(a)(1)
                  14                      Plaintiffs,                          AND [PROPOSED] ORDER

                  15                vs.                                        Dept.: 11, 19th Floor
                                                                               Judge: Hon. Jeffrey S. White
                  16       BRAIN TUNNELGENIX TECHNOLOGIES
                           CORP. f/k/a ETERLINK INTERNATIONAL                  Action Filed: November 2, 2010
                  17       CORPORATION, a Delaware corporation;                Trial Date: Not Set
                           MARCIO AURELIO MARTINS ABREU a/k/a M.
                  18       MARC ABREU, M.D., an individual; JOSEPH
                           ROGER TITONE, an individual; TITRONICS
                  19       RESEARCH & DEVELOPMENT CO., INC., an
                           Iowa corporation; and DOES 1 through 100,
                  20       inclusive,

                  21                      Defendants.

                  22

                  23       ///
                  24       ///
                  25       ///
                  26       ///
                  27       ///
                  28       ///
 Bowles & Verna LLP                                                                                  Case No.: 3:C10-CV-04958-JSW
2121 N. California Blvd.                                                   1
      Suite 875
 Walnut Creek 94596
                                 STIPULATION FOR DISMISSAL OF ACTION PURSUANT TO F.R.C.P. 41(a)(1) AND [PROPOSED] ORDER
                                 Case 3:10-cv-04958-JSW Document
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                    1                                         STIPULATION OF DISMISSAL
                    2             Following settlement of this matter, Plaintiffs Data Mark, Inc. dba Deltatrak Technologies and
                    3      Frederick L. Wu, by and through their counsel of record, and Defendants Brain Tunnelgenix
                    4      Technologies Corp. f/k/a Eterlink International Corporation, Marcio Aurelio Martins Abreu a/k/a M.
                    5      Marc Abreu, M.D., Joseph Roger Titone, and Titronics Research & Development Co., Inc., by and
                    6      through their counsel of record, hereby stipulate and agree that this action, and all claims asserted
                    7      therein, are hereby dismissed with prejudice. Each side is to bear its own attorneys’ fees and costs.
                    8             IT IS SO STIPULATED.
                    9      Dated: November 16, 2011                           BOWLES & VERNA LLP

                  10

                  11                                                          By:    /s/ Michael P. Connolly
                                                                                     RICHARD T. BOWLES
                  12                                                                 BRADLEY R. BOWLES
                                                                                     MICHAEL P. CONNOLLY
                  13                                                                 Attorneys for Plaintiffs
                                                                                     DATA MARK, INC. dba DELTATRAK
                  14                                                                 TECHNOLOGIES, a California
                                                                                     corporation, FREDERICK L. WU, an
                  15                                                                 individual

                  16

                  17       Dated: November 16, 2011                           QUINTANA LAW GROUP, APC

                  18

                  19                                                          By:    /s/ Andres Quintana
                                                                                     ANDRES QUINTANA
                  20                                                                 JOHN HOUKOM
                                                                                     Attorneys for Defendants
                  21                                                                 BRAIN TUNNELGENIX
                                                                                     TECHNOLOGIES CORP. f/k/a
                  22                                                                 ETERLINK INTERNATIONAL
                                                                                     CORPORATION, a Delaware
                  23                                                                 corporation; MARCIO AURELIO
                                                                                     MARTINS ABREU a/k/a M. MARC
                  24                                                                 ABREU, M.D., an individual; JOSEPH
                                                                                     ROGER TITONE, an individual;
                  25                                                                 TITRONICS RESEARCH &
                                                                                     DEVELOPMENT CO., INC., an Iowa
                  26                                                                 corporation

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 Bowles & Verna LLP                                                                                         Case No.: 3:C10-CV-04958-JSW
2121 N. California Blvd.                                                        2
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                    1                                             [PROPOSED] ORDER
                    2             Based on the stipulation of the parties and for good cause shown IT IS HEREBY ORDERED
                    3      that this action, Case No. 3:C10-CV-04958-JSW, and all claims asserted therein, is dismissed with
                    4      prejudice. IT IS HEREBY FURTHER ORDERED that each party shall bear its own attorneys’ fees
                    5      and costs in this matter.
                    6             PURSUANT TO STIPULATION, IT IS SO ORDERED.
                    7

                    8                       28
                           Dated: November _____, 2011
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                  10                                                       By:
                                                                                  Hon. Jeffrey S. White
                  11                                                              United States District Judge

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 Bowles & Verna LLP                                                                                      Case No.: 3:C10-CV-04958-JSW
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